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                                UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                            www.flsb.uscourts.gov
                                                CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                             Original Plan
                                                                   Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                         ■   First                                 Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Yanet Lavado                                    JOINT DEBTOR:                                           CASE NO.: 17-12457-RAM
SS#: xxx-xx- 9352                                          SS#: xxx-xx-
I.          NOTICES
            To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:       Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                be reduced, modified or eliminated.
            To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                      Included       ■    Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                      Included       ■    Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                     Included       ■    Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $2,150.96             for months   1    to 23 ;

                   2.   $2,303.61             for months 24 to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                               NONE      PRO BONO
        Total Fees:              $4175.00            Total Paid:            $1000.00             Balance Due:            $3175.00
        Payable              $44.17           /month (Months 1     to 23 )
        Payable              $58.35           /month (Months 24 to 60 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500 Attorneys Fees + $150 Cost + $525 Motion to Modify = $4175

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                  NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Select Portfolio Servicing, Inc.
              Address: POB 65250                           Arrearage/ Payoff on Petition Date   27,473.08
                       Salt Lake City, UT
                                                           Arrears Payment (Cure)                           $464.99      /month (Months   1   to 23 )
                       84165-0250
                                                           Regular Payment (Maintain)                   $1,161.58        /month (Months   1   to 23 )
         Last 4 Digits of
         Account No.:                  2696                Arrears Payment (Cure)                           $453.57      /month (Months 24    to 60 )


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                                                                              Debtor(s): Yanet Lavado                                    Case number: 17-12457-RAM
                                                                Regular Payment (Maintain)                        $1,189.57           /month (Months 24    to 60 )

        Other:

         ■   Real Property                                                              Check one below for Real Property:
                 ■ Principal    Residence                                                ■     Escrow is included in the regular payments
                       Other Real Property                                                     The debtor(s) will pay         taxes       insurance directly
         Address of Collateral:
         6369 NW 173rd Street
         Hialeah, FL 33015-4466
             Personal Property/Vehicle
         Description of Collateral:

         2. Creditor: The Moors Master Association
              Address: c/o First Service                        Arrearage/ Payoff on Petition Date        12,223.79
                       Residential
                                                                Arrears Payment (Cure)                                $206.90         /month (Months   1   to 23 )
                       POB 028104
                       Miami, FL 33102                          Regular Payment (Maintain)                            $172.64         /month (Months   1   to 23 )

         Last 4 Digits of                                       Arrears Payment (Cure)                                $201.76         /month (Months 24    to 60 )
         Account No.:                     1101                  Regular Payment (Maintain)                            $170.00         /month (Months 24    to 60 )

        Other:

         ■   Real Property                                                              Check one below for Real Property:
                 ■ Principal    Residence                                                ■     Escrow is included in the regular payments
                       Other Real Property                                                     The debtor(s) will pay         taxes       insurance directly
         Address of Collateral:
         6369 NW 173rd Street
         Hialeah, FL 33015-4466
             Personal Property/Vehicle
         Description of Collateral:
             B. VALUATION OF COLLATERAL:                         ■    NONE
             C. LIEN AVOIDANCE                   ■    NONE
             D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
                distribution fom the Chapter 13 Trustee.
                       ■   NONE
             E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
                fom the Chapter 13 Trustee.
                       ■   NONE
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                                ■   NONE
             B. INTERNAL REVENUE SERVICE:                        ■    NONE
             C. DOMESTIC SUPPORT OBLIGATION(S):                           ■    NONE
             D. OTHER:            ■   NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay             $0.00              /month (Months   1       to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.      ■   If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
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                                                                     Debtor(s): Yanet Lavado                            Case number: 17-12457-RAM
               C. SEPARATELY CLASSIFIED:               ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                    ■   NONE
VIII.       NON-STANDARD PLAN PROVISIONS                   ■   NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                          Debtor                                                                Joint Debtor
  Yanet Lavado                                              Date                                                                        Date



  /s/ Robert Sanchez, Esq.                     February 12, 2019
    Attorney with permission to sign on                  Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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